




Becker v. State



COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS





ADRIAN MACIAS,


                                    Appellant,


v.


THE STATE OF TEXAS,


                                    Appellee. 

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No. 08-09-00105-CR



Appeal from


 243rd District Court


of El Paso County, Texas


(TC # 20080D02608)





MEMORANDUM OPINION



	Adrian Macias attempts to appeal from a conviction of deadly conduct.  Finding that
Appellant has not complied with Rule 25.2 of the Texas Rules of Appellate Procedure, we dismiss
the appeal.

	Rule 25.2(a)(2) governs the defendant's right to appeal in a criminal case and requires that
the trial court enter a certification of the defendant's right of appeal in every case in which it enters
a judgment of guilt or other appealable order.  Tex.R.App.P. 25.2.  Likewise, Rule 25.2(d) requires
that the trial court certify whether the defendant has a right of appeal under Rule 25.2(a)(2). 
Tex.R.App.P. 25.2(d).  An appellate court is required to dismiss an appeal if a certification that shows
the defendant's right of appeal has not been made part of the appellate record.  See Tex.R.App.P.
25.2(d).  

	Appellant filed a timely notice of appeal but the notice did not include the trial court's
certification of the defendant's right to appeal as required by Rules 25.2(a)(2) and 25.2(d).  The
Clerk's Office notified Appellant that a certification had not been filed and requested that Appellant
file the certification within thirty days or the appeal would be dismissed pursuant to Rule 25.2(d).
Appellant has not complied with our request.  Accordingly, the appeal is dismissed.


July 29, 2009						                                                                      
  

							ANN CRAWFORD McCLURE, Justice


Before Chew, C.J., McClure, and Rivera, JJ.


(Do Not Publish)


